Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 1 of 16




                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) AMANDA DILBECK                                )
                                                    )
  vs.                                               )    Civil Action No. 21-cv-00403-GKF-JFJ
                                                    )
  (1) INSTANT BRANDS INC.                           )

                            PLAINTIFF’S ORIGINAL COMPLAINT

                                     NATURE OF THE CASE

  1.     This is a products liability and negligence suit based on the explosion of—and resulting

  severe burn injuries from—a Instant Pot pressure cooker that, due to its defective condition, was

  prone to burst and spew its scalding contents. This suit is also based on misstatements and

  omissions that Instant Brands Inc. (Instant Brands) makes about the quality and safety of its

  pressure cookers.

  2.     Defendant Instant Brands designs, manufactures, markets, imports, distributes, and sells a

  wide range of consumer kitchen products, including the subject Instant Pot Duo pressure cooker.

  3.     Instant Brands advertises the “safety” of its pressure cookers and states that they cannot be

  opened while in use. Despite Defendant’s claims of “safety,” it made and sold pressure cookers

  that suffer from serious and dangerous defects.

  4.     During ordinary and routine operation, the Instant Pot generates extreme heat and steam.

  When the defect manifests itself, the built-up pressure and steam trapped inside the Instant Pot

  cause its scalding hot contents to burst and erupt from the appliance when the lid is opened by the

  consumer, resulting in significant and painful burn injuries.

  5.     Instant Brands knew or should have known of these defects but has nevertheless put profit

  ahead of safety by continuing to sell these devices to consumers, failing to warn consumers of the
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 2 of 16




  serious risks posed by the defects, and failing to recall the dangerously defective pressure cookers

  regardless of the risk of significant injuries to Amanda Dilbeck and others like her.

                                 PLAINTIFF AMANDA DILBECK

  6.     Plaintiff Amanda Dilbeck is a resident and citizen of Mayes County, Oklahoma.

  7.     Ms. Dilbeck purchased a new Instant Pot electric pressure cooker, model Duo 80 V2, from

  her local Walmart store in Pryor, Mayes County, Oklahoma (the “Instant Pot”).

  8.     On or about February 14, 2021, Ms. Dilbeck was cooking with the Instant Pot under normal

  operating conditions as directed by the manufacturer.

  9.     Unbeknownst to Ms. Dilbeck, as a result of the defects, the Instant Pot still retained a

  dangerous amount of pressure inside. Despite Instant Brands’ purported built-in safety features,

  Ms. Dilbeck was able to easily remove the lid. When she did so, the Instant Pot’s hot contents

  exploded out of the pot, scalding and scarring her face, neck, and chest.

  10.    The ability to easily open the lid when significant pressure still remained, and the presence

  of all signs indicating the internal pressure had been eliminated, is a dangerous defect in the Instant

  Pot and one that is contrary to Defendant’s representations.

  11.    The explosion occurred as a result of the failure of the Instant Pot’s supposed “safety

  mechanisms,” which purport to keep the consumer safe while using the Instant Pot. In addition,

  the incident occurred as the result of Instant Brands’ failure to redesign the Instant Pot, despite the

  existence of economical, safer alternative designs.

  12.    The Instant Pot’s failure and the resulting injuries occurred at Ms. Dilbeck’s home in

  Choteau, Mayes County, Oklahoma.




                                                    2
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 3 of 16




  13.    As a direct and proximate result of Instant Brands’ conduct, Ms. Dilbeck incurred

  significant and painful bodily injuries, medical expenses, physical pain, mental anguish, and

  diminished enjoyment of life.

                             DEFENDANT INSTANT BRANDS INC.

  14.    Instant Brands designs, manufactures, markets, imports, distributes, and sells a variety of

  consumer kitchen products including pressure cookers, air fryers, and blenders.

  15.    Instant Brands advertises that “[t]he Instant Pot line of products are truly tools for a new

  lifestyle and especially cater to the needs of health-minded individuals” with its “main goal” to

  provide “best kitchen experience.”

  16.    Instant Brands is a corporation organized under the laws of Canada.

  17.    Instant Brands has its headquarters and principal place of business at 495 March Road,

  Suite 200, Kanata, ON, Canada K2K 3G1.

  18.    Instant Brands does business in Oklahoma, including by selling its Instant Pot line of

  products to distributors and retailers in Oklahoma.

  19.    Instant Brands sells its Instant Pot line of products to Walmart, knowing that those products

  will be sold at Walmart locations in Oklahoma.

                                   JURISDICTION AND VENUE

  20.    Plaintiff is a citizen of Oklahoma, and Defendant is a citizen of Canada.

  21.    This Court has diversity jurisdiction over this case under 28 U.S.C. § 1332 because the

  amount in controversy exceeds $75,000, exclusive of interest and costs, and there is complete

  diversity between the parties.




                                                   3
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 4 of 16




  22.     Instant Brands has sufficient minimum contacts with the Oklahoma and has intentionally

  availed itself of the markets within Oklahoma through the promotion, sale, marketing, and

  distribution of its products.

  23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because all or a substantial part

  of the events or omissions giving rise to this claim occurred in Mayes County, Oklahoma.

                                    FACTUAL BACKGROUND

  24.     Instant Brands is in the business of designing, manufacturing, warranting, marketing,

  importing, distributing, and selling Instant Pot pressure cookers.

  25.     Because of the production of high heat and pressure, pressure cookers can cause serious

  injuries, including burns, if they or any of their components (such as seals, gaskets, controls, and

  valves, etc.) are defectively designed, manufactured or assembled.

  26.     Pressure cookers can be extremely dangerous, and one of the biggest dangers is that they

  can explode or burst open.

  27.     Defendant warrants, markets, advertises and sells its pressure cookers as “Convenient,

  Dependable and Safe.”

  28.     For example, Instant Brands makes the following statements on its YouTube channel:

                  a.      “The first thing you need to know about your IP-DUO is that you don’t
                          need to be afraid of it, as many people are afraid of stovetop pressure
                          cookers.”

                  b.      “With 10 safety features built in, you can use your Instant Pot with
                          confidence, knowing that it is not going to explode.”

                  c.       “In addition, keep in mind that your Instant Pot operates at relatively low
                          pressures of 11 to 12 psi or lower, depending on the pressure setting that
                          you use.”




                                                   4
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 5 of 16




  29.    In a video entitled “Introducing Instant Pot IP-DUO series electric pressure cooker,” Instant

  Brands spokesperson Laura Pazzaglia states that “once the lid is locked, and the contents are under

  pressure, there’s no way to open the pressure cooker.”

  30.    The Owner’s Manual for Plaintiff’s Instant Pot also states that “[a]s a safety feature, the lid

  is locked and won’t open until the float valve drops down.”

  31.    Ms. Dilbeck purchased the pressure cooker with the reasonable expectation that it was

  properly designed and manufactured, free from defects of any kind, and that it was safe for its

  intended, foreseeable use of cooking.

  32.    Ms. Dilbeck used her pressure cooker for its intended purpose of preparing meals and did

  so in a manner that was reasonable and foreseeable by Instant Brands.

  33.    However, the Instant Pot was defectively and negligently designed and manufactured by

  Instant Brands in that it failed to properly function as to prevent the lid from being removed with

  normal force while the unit remained pressurized, despite the appearance that all the pressure had

  been released, during the ordinary, foreseeable and proper use of cooking food with the product.

  34.    The Instant Pot was defective in that certain of its components do not operate as designed,

  its design does not include appropriate safety features and safeguards, and instructions and/or

  warnings accompanying it were not adequate.

  35.    The defects include, without limitation, a faulty release valve that inaccurately indicates

  when the built-up pressure has safely escaped the Instant Pot. The defects are also related to a

  faulty gasket that allows the lid to open despite the presence of dangerous built-up pressure.

  36.    The defects are also related to the lack of an adequate mechanism to ensure the alleged

  “built-in” pressure relief and safety features work under real-world operating conditions.




                                                   5
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 6 of 16




  37.    The defects, which allows users to open the Instant Pot while it still contains dangerous

  pressure, demonstrates the ineffectiveness of the devices that Instant Brands tout as built-in safety

  features of the Instant Pot.

  38.    Economic, safer alternative designs were available that could have prevented the Instant

  Pot’s lid from being opened while pressurized.

  39.    Instant Brands knew or should have known that its pressure cookers possessed defects that

  pose a serious safety risk to Ms. Dilbeck and the public.

  40.    Ms. Dilbeck’s experience with the Instant Pot was not isolated.

  41.    Other consumers reported similar horrific experiences as Ms. Dilbeck, including another

  consumer who reported that her Instant Pot “exploded on me,” with “hot grease, water and steam

  covering my right hand, arm and abdomen,” resulting in second-degree burns and an ER visit.

  42.    Screenshots of complaints on Amazon’s website under the product review tab for the

  Instant Pot Duo reveal many other similarly dangerous incidents:




                                                   6
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 7 of 16




                                        7
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 8 of 16




                                        8
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 9 of 16




  43.    As a direct and proximate result of these defects, Ms. Dilbeck suffered significant and

  painful bodily injuries upon her simple removal of the lid of the Instant Pot.

  44.    Consequently, Ms. Dilbeck seeks damages resulting from the use and explosion of the

  Instant Pot, which has caused Ms. Dilbeck to suffer from serious bodily injuries, medical expenses,

  lost wages, physical pain, mental anguish, diminished enjoyment of life, and other damages.

                                       CAUSES OF ACTION

                                           COUNT I
                                  STRICT PRODUCTS LIABILITY

  45.    Plaintiff incorporates by reference each and all of the allegations contained in the preceding

  paragraphs as though fully set forth herein.

  46.    The Instant Pot that Plaintiff was using was designed, manufactured, marketed and sold by

  Instant Brands.

  47.    Instant Brands is in the business of designing, manufacturing, marketing, and selling

  Instant Pot pressure cookers.

  48.    The Instant Pot was unreasonably and dangerously defective in its design, manufacture,

  and marketing.

  49.    The Instant Pot’s safety systems were defectively designed and manufactured, and such

  defects rendered the Instant Pot unreasonably dangerous beyond that which would be

  contemplated by the ordinary user or consumer who purchases it, with the ordinary knowledge

  common to the community as to its characteristics.

  50.    The Instant Pot was in the same or substantially similar condition as when it left the

  possession of Instant Brands.

  51.    There were safer alternative designs for the Instant Pot other than those which caused

  Plaintiff’s injuries and damages as set forth herein. The safer alternative designs would have either


                                                   9
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 10 of 16




   prevented or significantly reduced the risk of serious and catastrophic injury without substantially

   impairing the Instant Pot’s utility, and the safer alternative designs were economically and

   technologically feasible at all times relevant.

   52.    The Instant Pot was defective as marketed in that Instant Brands failed to adequately warn

   of the dangerous conditions of the Instant Pot as described more fully herein.

   53.    An ordinary consumer or user with knowledge common to the community and to those

   who were foreseeably expected to use the Instant Pot would not contemplated that it would contain

   such a dangerous defect.

   54.    The design of the Instant Pot was defective and unreasonably dangerous in at least the

   following, non-exclusive ways:

          a.      During ordinary and routine operation, the Instant Pot generates extreme heat and
                  steam, and built-up pressure and steam trapped inside the Instant Pot cause its
                  scalding hot contents to burst and erupt from the appliance when the lid is opened
                  by the consumer, resulting in significant and painful burn injuries;

          b.      The Instant Pot failed to properly function as to prevent the lid from being removed
                  with normal force while the unit remained pressurized, despite the appearance that
                  all the pressure had been released, during the ordinary, foreseeable and proper use
                  of cooking food with the product;

          c.      Certain of its components do not operate as designed, its design does not include
                  appropriate safety features and safeguards, and instructions and/or warnings
                  accompanying it were not adequate;

          d.      A faulty release valve inaccurately indicates when the built-up pressure has safely
                  escaped the Instant Pot;

          e.      A faulty gasket allows the lid to open despite the presence of dangerous built-up
                  pressure;

          f.      There is no adequate mechanism to ensure the alleged “built-in” pressure relief and
                  safety features work under real-world operating conditions;

          g.      The Instant Pot was improperly and inadequately tested by Defendant; and

          h.      The Instant Pot was not safe for use during ordinary, foreseeable operation.


                                                     10
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 11 of 16




   55.    Instant Brands knew or should have known of a potential risk of harm presented by the

   defective design of the supplemental restraint system, but marketed the product with the design

   and marketing defects. The Instant Pot posed an unreasonable risk of harm for the forseeable use.

   Instant Brands knew or should have reasonably foreseen the risk of harm at the time the product

   was sold and that the product possessed a marketing defect.

   56.    The Instant Pot was also improperly and inadequately tested by Instant Brands for safety.

   57.    Plaintiff further claims, in the alternative, that a manufacturing defect was a producing

   cause of her personal injuries. As further support for Plaintiff’s manufacturing defect claims,

   Plaintiff provides notice of intention to rely upon the Malfunction Doctrine as set forth in

   RESTATEMENT (THIRD) OF TORTS: PRODUCT LIABILITY § 3 (1998).

   58.    In this instance, it may be inferred that the severe injuries sustained by Plaintiff were caused

   by a product defect existing at the time of sale or distribution, without proof of a specific defect,

   because the injuries suffered by Plaintiff: (a) were of the kind that ordinarily occur as a result of a

   product defect; and (b) were not, in the particular case, solely the result of causes other than the

   product defect existing at the time of the sale or distribution. RESTATEMENT (THIRD) OF TORTS:

   PRODUCTS LIABILITY § 3 (1998).

   59.    Instant Brands’ defective and/or negligent design, testing, manufacturing, and marketing

   of the Instant Pot were a proximate and producing cause of Plaintiff’s injuries and damages, thus

   rendering Instant Brands strictly liable.

   60.    Plaintiff further seeks punitive damages because the injury is attributable to conduct that

   reflects a reckless disregard for the public safety. Specifically, 1) Instant Brands was aware of the

   defect and the likelihood that the injury would result from it; 2) Instant Brands could either remedy




                                                     11
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 12 of 16




   the defect or prevent the injury caused by it; and 3) notwithstanding the above, Instant Brands

   deliberately failed to take action to remedy the defect or prevent the injury.

                                              COUNT II
                                            NEGLIGENCE

   61.    Plaintiff incorporates by reference each and all of the allegations contained in the preceding

   paragraphs as though fully set forth herein.

   62.    Instant Brands has a duty of reasonable care to design, manufacture, market, and sell non-

   defective pressure cookers that are reasonably safe for their intended uses by consumers.

   63.    Instant Brands failed to exercise reasonable care in designing, developing, manufacturing,

   inspecting, testing, selling, distributing, labeling, marketing, and promoting its pressure cookers,

   which were defective and presented an unreasonable risk of harm to consumers.

   64.    The negligence of Instant Brands, including its employees, managers and executives in the

   course and scope of their employment includes, but is not limited to, the following acts and/or

   omissions regarding the Instant Pot:

          a.      Failing to use due care in designing and manufacturing the Instant Pot to avoid the
                  aforementioned risks to individuals;

          b.      Placing an unsafe product into the stream of commerce;

          c.      Failing to warn consumers of the dangerous condition of the Instant Pot as
                  described more fully herein;

          d.      Failing to provide the users with a safety system that is adequate to provide
                  protection and injury prevention during ordinary and foreseeable use;

          e.      Failing to properly and adequately perform tests to assess the performance and
                  effectiveness of the Instant Pot’s alleged safety features;

          f.      Choosing to disregard and ignore generally accepted principles of hazard control
                  (“design, guard and warn”) as well as its obligation to hold the safety of the public
                  paramount; and

          g.      Being otherwise careless or negligent.


                                                    12
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 13 of 16




   65.    Plaintiff suffered and continues to suffer injuries and damages because of Instant Brands’

   negligent acts and omissions.

   66.    Each of the above negligent acts and omissions of Instant Brands, whether taken singularly

   or in combination, were a direct, proximate, and producing cause of the injuries to Plaintiff and

   Plaintiff’s damages. Due to Instant Brands’ wrongful acts, carelessness, unskillfulness, and

   negligence Instant Brands should be held liable for Plaintiff’s injuries and damages.

   67.    The conduct of Instant Brands was in reckless disregard of Plaintiff’s rights because Instant

   Brands was either aware, or did not care, that there was a substantial and unnecessary risk that its

   conduct would cause serious injury to others. Instant Brands’ conduct was unreasonable under the

   circumstances, and there was a high probability that the conduct would cause serious harm to

   another person. As such, Plaintiff further seeks punitive damages.

   68.    Instant Brands is vicariously liable for the negligent acts and omissions, jointly and

   severally, by and through its agents, servants, and/or employees, acting in the course and scope of

   their respective employment, individually and/or collectively.

                                        COUNT III
                              BREACH OF IMPLIED WARRANTY
                          OF FITNESS FOR A PARTICULAR PURPOSE

   69.    Plaintiff incorporates by reference each and all of the allegations contained in the preceding

   paragraphs as though fully set forth herein.

   70.    Instant Brands manufactured, supplied, and sold its pressure cookers with an implied

   warranty that they were fit for the particular purpose of cooking quickly, efficiently and safely.

   71.    Members of the consuming public, including consumers such as the Plaintiff, were the

   intended third-party beneficiaries of the warranty.




                                                    13
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 14 of 16




   72.    Instant Brands’ pressure cookers were not fit for the particular purpose as a safe means of

   cooking, due to the unreasonable risks of bodily injury associated with their use.

   73.    Plaintiff reasonably relied on Instant Brands’ representations that its pressure cookers were

   a quick, effective and safe means of cooking

   74.    Instant Brands’ breach of the implied warranty of fitness for a particular purpose was a

   direct and proximate cause of Plaintiff’s injuries and damages.

                                          COUNT IV
                                 BREACH OF IMPLIED WARRANTY
                                     OF MERCHANTABILITY

   75.    Plaintiff incorporates by reference each and all of the allegations contained in the preceding

   paragraphs as though fully set forth herein.

   76.    At the time Instant Brands marketed, distributed and sold its pressure cookers to Plaintiff,

   Instant Brands warranted that its pressure cookers were merchantable and fit for the ordinary

   purposes for which they were intended.

   77.    Members of the consuming public, including consumers such as the Plaintiff, were

   intended third-party beneficiaries of the warranty.

   78.    Instant Brands’ pressure cookers were not merchantable and fit for its ordinary purpose,

   because they had the propensity to lead to the serious personal injuries as described herein in this

   Complaint.

   79.    Plaintiff purchased her pressure cooker with the reasonable expectation that it was properly

   designed and manufactured, free from defects of any kind, and that they were safe for its intended,

   foreseeable use of cooking.

   80.    Instant Brands’ breach of implied warranty of merchantability was the direct and proximate

   cause of Plaintiff’s injury and damages.



                                                   14
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 15 of 16




                                               DAMAGES

   81.    Plaintiff incorporates by reference each and all of the allegations contained in the preceding

   paragraphs as though fully set forth herein.

   82.    As a result of the negligence of the Defendant, Plaintiff suffered injuries and damages in

   excess of $75,000.00 as follows:

          a. Past medical expenses;

          b. Future medical expenses;

          c. Past physical pain and suffering;

          d. Future physical pain and suffering;

          e. Past mental pain and suffering;

          f. Future mental pain and suffering;

          g. Past lost wages;

          h. Future lost wages;

          i. Loss of earning capacity;

          j. Permanent impairment;

          k. Disfigurement;

          l. Other damages to be more fully set forth after discovery is completed.

   83.    Plaintiff is entitled to recover pre-judgment interest in accordance with law and equity as

   part of their damages herein, and Plaintiff here and now sues for recovery of pre-judgment interest.

                                           JURY DEMAND

   84.    Plaintiff respectfully requests and demands a trial by jury on all claims and issues.




                                                   15
Case 4:21-cv-00403-GKF-JFJ Document 2 Filed in USDC ND/OK on 09/21/21 Page 16 of 16




                                                PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

   appear and answer herein, and that upon final trial, Plaintiff recover actual, compensatory, and

   punitive damages, as specified above, from the Defendant; that Plaintiff recovers costs of Court

   herein expended; that Plaintiff recover the interest, both pre-judgment and post-judgment, to which

   Plaintiff is entitled under the law; and for such other and further relief, both general and special,

   legal and equitable, to which Plaintiff may be justly entitled.

                                                 Respectfully submitted,

                                                 CARR & CARR ATTORNEYS

                                                 /s/ Michael Carr
                                                 Michael E. Carr, OBA #22520
                                                 4416 South Harvard Ave.
                                                 Tulsa, Oklahoma 74135
                                                 Telephone:    (918) 747-1000
                                                 Facsimile:    (918) 747-7284
                                                 E-mail:       mcarr@carrcarr.com

                                                 THE AMMONS LAW FIRM, LLP

                                                 Robert E. Ammons
                                                 Texas Bar No. 01159820 (pro hac vice to be filed)
                                                 Adam Milasincic
                                                 Texas Bar No. 24079001 (pro hac vice to be filed)
                                                 3700 Montrose Blvd.
                                                 Houston, Texas 77006
                                                 Telephone: (713) 523-1606
                                                 Facsimile:    (713) 523-4159
                                                 E-mail:       rob@ammonslaw.com
                                                 E-mail:       adam@ammonslaw.com
                                                 E-mail:       melanie@ammonslaw.com

                                                 ATTORNEYS FOR PLAINTIFF




                                                    16
